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                                                             1   DARREN T. BRENNER, ESQ.
                                                                 Nevada Bar No. 8386
                                                             2   SCOTT R. LACHMAN, ESQ.
                                                                 Nevada Bar No. 12016
                                                             3   AKERMAN LLP
                                                                 1635 Village Center Circle, Suite 200
                                                             4   Las Vegas, Nevada 89134
                                                                 Telephone:     (702) 634-5000
                                                             5   Facsimile:      (702) 380-8572
                                                                 Email: darren.brenner@akerman.com
                                                             6   Email: scott.lachman@akerman.com
                                                             7   Attorneys for Bank of America, N.A.

                                                             8                                UNITED STATES DISTRICT COURT

                                                             9                                         DISTRICT OF NEVADA

                                                            10   LAS VEGAS DEVELOPMENT GROUP, LLC,                Case No.: 2:15-cv-00917-GMN-NJK
                                                                 a Nevada limited liability company,
                                                            11
                                                                                       Plaintiff,                 STIPULATION TO EXTEND REPLY
              1635 VILLAGE CENTER CIRCLE, SUITE 200
               TEL.: (702) 634-5000 – FAX: (702) 380-8572




                                                            12                                                    DEADLINE IN SUPPORT OF BANK OF
                                                                 vs.                                              AMERICA, N.A.'S MOTION FOR
                      LAS VEGAS, NEVADA 89134




                                                            13                                                    SUMMARY JUDGMENT
AKERMAN LLP




                                                                 2014-3 IH EQUITY OWNER, LP, a Delaware           (FIRST REQUEST)
                                                            14   limited partnership; BANK OF AMERICA, NA,
                                                                 a National Banking Association; MERIDIAN
                                                            15   FORECLOSURE SERVICE, a California
                                                                 corporation; THR NEVADA II, LP a Delaware
                                                            16   limited    partnership;    THR     PROPERTY
                                                                 BORROWER, LP, a Delaware limited
                                                            17   partnership; THR PROPERTY GUARANTOR,
                                                                 LP, a Delaware limited partnership; THR
                                                            18   PROPERTY HOLDCO, LP, a Delaware limited
                                                                 partnership; 2014-3 IH PROPERTY HOLDCO,
                                                            19   LP, a Delaware limited partnership; 2014-3 IH
                                                                 BORROWER, LP, a Delaware limited
                                                            20   partnership; GERMAN AMERICAN CAPITAL
                                                                 CORPORATION, a Maryland corporation;
                                                            21   CHRISTIANA TRUST, an unknown business
                                                                 entity; DOE individuals I through XX; and ROE
                                                            22   CORPORATIONS I through XX,
                                                            23                         Defendants.
                                                            24          Bank of America, N.A. (BANA) and THR Nevada II, LP (THR2), 2014-3 IH Borrower,

                                                            25   2014-13 IH Equity Owner, LP, THR Property Borrower, LP, THR Property Guarantor, LP, THR

                                                            26   Property Holdco, LP, and 2014-3 IH Property Holdco, LP (the THR and IH entities collectively,

                                                            27   THR entities) stipulate to extend BANA's deadline to reply to its summary judgment motion by

                                                            28   three weeks. [ECF No. 87].
                                                                   Case 2:15-cv-00917-GMN-NJK Document 128 Filed 05/19/20 Page 2 of 2




                                                             1          BANA filed its summary judgment motion on September 12, 2019. [Id.]. After several

                                                             2   extensions and a settlement conference, the THR entities filed its response to the motion on May 7,

                                                             3   2020. [ECF No. 126]. BANA's reply is presently due on May 21, 2020. If allowed a three-week

                                                             4   extension, the deadline to reply would be June 11, 2020.       This is the first request to extend

                                                             5   this deadline.

                                                             6          Good cause exists to extend this deadline due to the complex and novel issues surrounding

                                                             7   dual NRS 116 and 107 sales. No party will be prejudiced by a three-week extension.

                                                             8          Dated May 18, 2020.
                                                             9   AKERMAN LLP                                       GERRARD, COX & LARSEN
                                                            10   /s/ Scott Lachman                                 /s/ Frederick J. Biedermann
                                                                 DARREN T. BRENNER, ESQ.                           DOUGLAS D. GERRARD, ESQ.
                                                            11   Nevada Bar No. 8386                               Nevada Bar No. 4613
                                                                 SCOTT R. LACHMAN, ESQ.                            FREDERICK J. BIEDERMANN, ESQ.
              1635 VILLAGE CENTER CIRCLE, SUITE 200
               TEL.: (702) 634-5000 – FAX: (702) 380-8572




                                                            12   Nevada Bar No. 12016                              Nevada Bar No. 11918
                                                                 1635 Village Center Circle, Suite 200             2450 St. Rose Parkway, Suite 200
                      LAS VEGAS, NEVADA 89134




                                                            13   Las Vegas, Nevada 89134                           Henderson, Nevada 89074
AKERMAN LLP




                                                            14   Attorneys for Bank of America, N.A.               Attorneys for 2014-13 IH Equity Owner, LP,
                                                                                                                   THR Nevada II, LP, THR Property Borrower,
                                                            15                                                     LP, THR Property Guarantor, LP, THR Property
                                                                                                                   Holdco, LP, and 2014-3 IH Property Holdco, LP
                                                            16

                                                            17                                                ORDER

                                                            18          IT IS HEREBY ORDERED that the above stipulation to extend reply deadline in support of

                                                            19   Bank of America, N.A.'s motion for summary judgment until June 11, 2020 is GRANTED.

                                                            20                     19 day of May, 2020.
                                                                        Dated this ____

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                                                            22                                              Gloria M. Navarro, District Judge
                                                                                                            United States District Court
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